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AO 245B (Rev. 09/11) Judgment in a Criminal Case a
Sheet 1

t

UNITED STATES DISTRICT COURT

Northern District of Illinois

UNITED STATES OF AMERICA
Vv.

Yihao Pu

JUDGMENT IN A CRIMINAL CASE

Case Number: 11 CR 699-1
USM Number: 42336-424

Nowe Nee Nee Nee eee ee See” ee”

William W. Flachsbart and Carolyn Pelling Gurland
Defendant’s Attorney

 

THE DEFENDANT:
W pleaded guilty to count(s) 10 and 12 (superseding)

 

(1 pleaded nolo contendere to count(s)
which was accepted by the court.

 

C] was found guilty on count(s)
after a plea of not guilty.

 

The defendant is adjudicated guilty of these offenses:

Title & Section

  
 
 

 
 
   
   
 

   

18U.S.C opying of Trade Secrets

Cee oe ce

 

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.
[J The defendant has been found not guilty on count(s)

 

if Count(s) CO is Ware dismissed on the motion of the United States.

 

_,,_ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid: If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

1/15/2015

Date of Imposition of Judgment

Lit Leg

 

 

Signature of Judge

CHARLES R. NORGLE JUDGE
Name and Title of Judge

 

1/15/2015
Date

 
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AO 245B (Rev. 09/11) Judgment in Criminal Case
Sheet 2 — Imprisonment

‘ Judgment — Page 2 of
DEFENDANT: Yihao Pu

CASE NUMBER: 11 CR 699-1

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of:

thirty-six months on Count 10 and 12 (superseding), to run concurrently

L] The court makes the following recommendations to the Bureau of Prisons:

[] The defendant is remanded to the custody of the United States Marshal.

. [1 The defendant shall surrender to the United States Marshal for this district:

LI at Clam. (] pm. on
L] as notified by the United States Marshal.

 

aw The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

W before 2 p.m. on 5/1/2015

 

[] as notified by the United States Marshal.

[ as notified by the Probation or Pretrial Services Office.

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
a , with a certified copy of this judgment.
UNITED STATES MARSHAL
By

 

DEPUTY UNITED STATES MARSHAL
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AO 245B (Rev. 09/11) Judgment in a Criminal Case
Sheet 3 — Supervised Release

Judgment—Page 3 of 6
DEFENDANT: Yihao Pu

CASE NUMBER: 11 CR 699-1
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of :
three (3) years concurrently on Counts 10 and 12 (superseding).

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.

[J The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
future substance abuse. (Check, if applicable.)

The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)

4 The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
O

The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, ef seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

C] The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

STANDARD CONDITIONS OF SUPERVISION

.1) _ the defendant shall not leave the judicial district without the permission of the court or probation officer;

?) the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
acceptable reasons;

6) the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
felony, unless granted permission to do so by the probation officer:

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
permission of the court; and

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’ s criminal
record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
defendant’s compliance with such notification requirement.
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é Sheet 3C — Supervised Release

Judgment—Page 4 of 6
DEFENDANT: Yihao Pu
CASE NUMBER: 11 CR 699-1

SPECIAL CONDITIONS OF SUPERVISION

Random drug tests not to exceed 104 tests per year.
The defendant shall provide the probation officer with access to any requested financial information.

The defendant shall pay any financial penalty that is imposed by this judgment that remains unpaid at the commencement
of the term of select supervised release or probation. The defendant's monthly payment schedule shall be an amount that
is at least ten percent of his net monthly income.

The defendant shall not incur new credit charges or open additional lines of credit without the approval of the probation
officer unless the defendant is in compliance with the installment payment schedule.

If the defendant is unemployed after the first 60 days of supervision, or if unemployed for 60 days after termination or
lay-off from employment, he shall perform at least 20 hours of community service work per week at the direction of and in
the discretion of the U. S. Probation Office until gainfully employed.
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Sheet 5 — Criminal Monetary Penalties

Judgment — Page 5 of 6
DEFENDANT: Yihao Pu

CASE NUMBER: 11 CR 699-1
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Fine Restitution
TOTALS $ 200.00 $ 0.00 $ 759,649.55
[1] The determination of restitution is deferred until . An Amended Judgment in a Criminal Case (AO 245C) will be entered

after such determination.

we The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately 1 Pre ortioned payment, unless specified otherwise in

the priority order or percentage payment column below. However, pursuant to 18°U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

 

 

Name of Payee Total Loss* Restitution Ordered Priority or Percentage

   
 

 

TOTALS $ 759,649.55 $ 759,649.55

Restitution amount ordered pursuant to plea agreement $

The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

Ww The court determined that the defendant does not have the ability to pay interest and it is ordered that:
wh the interest requirement is waived forthe [fine iw restitution.

[] the interest requirement forthe [ fine [restitution is modified as follows:

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

Judgment — Page 6 of 6
DEFENDANT: Yihao Pu

CASE NUMBER: 11 CR 699-1

SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A [1] Lump sum payment of $ due immediately, balance due

1 not later than , or
[] in accordance Oc, OF D, OQ Eo  Fbelow: or

B Ww Payment to begin immediately (may be combined with [JC, L1D,or [F below); or

C ( Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after the date of this judgment; or

D (1 Payment in equal (e.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g., months or years), to commence (e.g., 30 or 60 days) after release from imprisonment to a

term of supervision; or

E [4 Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F wo Special instructions regarding the payment of criminal monetary penalties:

The fine as well as the costs of incarceration and supervision are waived.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due durin
e

imprisonment. All criminal monetary penalties, except those payments made throug Federal Bureau of Prisons’ Inmate Financia

Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

yw Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
and corresponding payee, if appropriate.

11 CR 699-2 Sahil Uppal $759,649.55.

[] The defendant shall pay the cost of prosecution.

O

The defendant shall pay the following court cost(s):

w The defendant shall forfeit the defendant’s interest in the following property to the United States:

*See attached preliminary order of forfeiture.

Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
UNITED STATES OF AMERICA )
) Case No. 11 CR 699
Vv. )
) Honorable Judge Charles Norgle
YIHAO PU, )
also known as “Ben Pu” )

PRELIMINARY ORDER OF FORFEITURE

This cause comes before the Court on motion of the United States for entry of
a preliminary order of forfeiture as to specific property pursuant to 18 U.S.C. § 2323
and Fed. R. Crim. P. 32.2, and the Court being fully informed hereby finds as
follows:

(a) On April 11, 2013, a superseding indictment was returned charging
defendant YIHAO PU with unlawful possession of trade secrets, in violation of 18
U.S.C. § 1832(a)(3) (Counts 10, 11, 13, 15, 17, 19) and unlawful transfer of trade
secrets, in violation of 18 U.S.C. § 1832(a)(2) (Counts 12, 14, 16, 18), among other
violations;

(b) The superseding indictment sought forfeiture to the United States of
specific property pursuant to the provisions of 18 U.S.C. § 2323:

(c) On August 7, 2014, pursuant to Fed. R. Crim. P. 11, defendant PU
entered a voluntary plea of guilty to Counts Ten and Twelve of the superseding

indictment, thereby certain property subject to forfeiture pursuant to the provisions

of 18 U.S.C. § 2323;
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(d) Asa result of his violations of 18 U.S.C. § 1832, to which defendant PU
pled guilty, the United States seeks forfeiture of all right, title, and interest in the
following property as agreed:

1. Western Digital Hard Drive, Serial Number WX61E41FC897;

2. Seagate Hard Drive, Serial Number 9XWOOKFP;

3. Hitachi Hard Drive, Serial Number MH3R4VAK;

4. Motorola Droid phone, Serial Number 268435458113866000;
and

5. Lenovo X300 computer, Serial Number L3A7192.

(e) Pursuant to the provisions of 21 U.S.C. § 853(g), as incorporated by 18
U.S.C. § 2323(b)(2)(A), upon entry of this preliminary order of forfeiture, the
government requests that the United States Marshal Service seize and take custody
of the forgoing property for disposition according to the law;

(f) The United States requests that the terms and conditions of this
preliminary order of forfeiture be made part of the sentence imposed against
defendant PU and included in any judgment and commitment order entered in this
case against him.

Accordingly, it is hereby ORDERED, ADJUDGED and DECREED:

1. That, pursuant to 18 U.S.C. § 2323 and Fed R. Crim P. 32.2, all right,
title, and interest defendant PU may have in the following property is hereby

forfeited to the United States of America for disposition according to law:
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(a) Western Digital Hard Drive, Serial Number
WX61E41FC897;

(b) Seagate Hard Drive, Serial Number 9XWOOKFP;

(c). Hitachi Hard Drive, Serial Number MH3R4VAK;

(d) Motorola Droid phone, Serial Number
268435458113866000; and

(e) Lenovo X300 computer, Serial Number L3A7192.

2. That, pursuant to the provisions of 21 U.S.C. § 853(g), as incorporated
by 18 U.S.C. § 2323(b)(2)(A), upon entry of this preliminary order of forfeiture, the
United States shall seize and take custody of the foregoing property for disposition
as the Attorney General may direct.

3. That, pursuant to the provisions of 21 U.S.C. § 853(n)(1), as
incorporated by 18 U.S.C. § 2323(b)(2)(A), upon entry of a preliminary order of
forfeiture, the United States shall publish notice of the order and of its intent to
dispose of the property according to law. The government may also, pursuant to
statute, to the extent practicable, provide direct written notice to any person known
to have alleged an interest in the property that is the subject of the preliminary
order of forfeiture. The government is unaware, at this time, of anyone who
qualifies for such notice.

A. That, pursuant to 21 U.S.C. § 853(n)(2), as incorporated by 18 U.S.C.
§ 2323(b)(2)(A), any person other than the defendant, asserting a legal claim in the

property which has been ordered forfeit to the United States may, within thirty
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days of the final publication of notice or this receipt of notice under paragraph (3),
whichever is earlier, petition this court for a hearing to adjudicate the validity of
this alleged interest in the property. The hearing shall be held before the court
alone, without a jury. It is further ordered,

5. That, following the court’s disposition of all third party interests, the
court shall, if appropriate, enter a final order of forfeiture as to the property which
is the subject of this preliminary order of forfeiture, which shall vest clear title in
the United States of America.

6. This court shall retain jurisdiction in this matter to take additional

action and enter further orders as necessary to implement and enforce this

forfeiture order.

CHARLES R. NORGLE, SR,
United States District Judge

   

 

DATED: MAN 15 2015
